

People v Hariram (2025 NY Slip Op 50326(U))



[*1]


People v Hariram (Mark)


2025 NY Slip Op 50326(U)


Decided on March 14, 2025


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on March 14, 2025
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Tisch, J.P., James, Perez, JJ.



570437/18

The People of the State of New York Respondent,
againstMark Hariram, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Joanne B. Watters, J.), rendered June 12, 2018, after a jury trial, convicting him of driving while impaired, and imposing sentence.




Per Curiam.
Judgment of conviction (Joanne B. Watters, J.), rendered June 12, 2018, affirmed.
The verdict was based on legally sufficient evidence and was not against the weight of the evidence (see People v Danielson, 9 NY3d 342, 348-349 [2007]). There is no basis for disturbing the jury's credibility determinations. The evidence established beyond a reasonable doubt that defendant's ability to drive was impaired by the consumption of alcohol (see Vehicle and Traffic Law § 1192 [1]). Eyewitnesses testified that defendant's vehicle side-swiped a yellow cab and then rear-ended a for-hire vehicle at approximately 5:15 a.m. The officers' testimony demonstrated that defendant exhibited classic signs of intoxication, including bloodshot and watery eyes, slurred speech, an odor of alcohol on his breath, and was unbalanced and unsteady on his feet; and that defendant admitted that he had been drinking (see People v Cruz, 48 NY2d 419, 426-428 [1979]; People v Martinez, 186 AD3d 1165 [2020]).
Any discrepancies and inconsistencies in the arresting officers' testimony or challenges to their credibility based on their individual observations of defendant's condition were fully explored by defense counsel on cross-examination and we find no basis to disturb the jury's resolution of the issues (see People v Jones, 79 AD3d 1073, 1073-1074 [2010], lv denied 17 NY3d 954 [2011]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: March 14, 2025









